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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 RUBY FREEMAN

 and                                                Case No. 1:21-cv-03354 (BAH)

 WANDREA’ MOSS,                                     Judge Beryl A. Howell

                         Plaintiffs,

                  v.

 RUDOLPH W. GIULIANI,

                         Defendant.

  DECLARATION OF MICHAEL J. GOTTLIEB IN SUPPORT OF PLAINTIFFS’
 MOTION TO DISSOLVE STAY OF EXECUTION AND FOR LEAVE TO REGISTER
                 JUDGMENT IN ANY OTHER DISTRICT

I, Michael J. Gottlieb, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.        I am over 18 years of age, of sound mind, and otherwise competent to make this

Declaration.     The evidence set out in the following Declaration is based on my personal

knowledge.

       2.        I represent Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss in the above-

captioned case, and submit this Declaration in support of the Plaintiffs’ Motion to Dissolve Stay

of Execution and for Leave to Register Judgment in any Other District (the “Motion”).

       3.        Based on a preliminary investigation, counsel for Plaintiffs have determined that

Defendant Rudolph Giuliani does not have assets in the District of Columbia but does have

significant assets in other jurisdictions, including residential properties located in the Southern

District of New York and the Southern District of Florida, respectively.
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     4.        Based on a preliminary investigation, counsel for Plaintiffs believe that Defendant

Giuliani also has numerous accounts at financial institutions located in New York.

     5.        As of the date of this Declaration, Defendant Giuliani has not paid Plaintiffs any

portion of the attorneys’ fees awarded by the Court earlier in this litigation.

       6.      Attached as Exhibit 1 is a true and correct copy of Summons & Complaint,

Davidoff Hutcher & Citron LLP et al. v. Giuliani, No. 654558/2023 (N.Y. Sup. Ct. Sept. 18,

2023), Dkt. No. 1.

     7.        Attached as Exhibit 2 is a true and correct copy of Complaint, Biden v. Giuliani,

No. 23-cv-08032 (C.D. Cal. Sept. 26, 23), ECF No. 1.

     8.        I declare under penalty of perjury that the foregoing is true and correct.


Washington, D.C.
Executed on December 18, 2023.

                                                        /s/ Michael J. Gottlieb
                                                        Michael J. Gottlieb
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                                                        Attorney for Plaintiffs Ruby Freeman and
                                                        Wandrea’ Moss




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